              UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                     Case No. 20-CV-954

FARHAD AZIMA,

       Plaintiff,
                                              PLAINTIFF’S REPLY IN
       v.                                  SUPPORT OF HIS MOTION TO
                                               COMPEL FURTHER
NICHOLAS DEL ROSSO and VITAL                 DEPOSITION TESTIMONY
MANAGEMENT SERVICES, INC.,                        (ECF NO. 188)

       Defendants.


      Defendants’ Response to Plaintiff’s Motion to Compel Further Deposition

Testimony deploys numerous inaccuracies, half-truths, and self-victimizations

to obfuscate the core issue before the Court: Defendants’ obstruction of Del

Rosso’s deposition and ongoing efforts to thwart all meaningful discovery in

this case. Del Rosso should be required to sit for additional deposition time to

answer the non-privileged questions he previously refused to answer.

      To avoid responsibility for repeatedly blocking testimony, Defendants

accused Plaintiff of not asking relevant questions during the deposition. In

fact, significant portions of the deposition were questions directly derived from

Defendants’ very detailed Answer.       ECF No. 93 at 1 (“Discovery will be

conducted on the operative allegations and claims contained in Plaintiff’s

complaint, the denials and defenses raised in Defendants’ Answer . . . .”)

(emphasis added). Counsel for Plaintiff questioned Del Rosso about core issues

relevant to supporting Plaintiff’s claims and defeating Defendants’ potential



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defenses. See infra at 3-7. Defendants labor mightily to malign Plaintiff, but

Del Rosso refused to answer even basic questions about Defendants’ own

responses to Plaintiff’s claims after repeated objections by counsel.

      During Del Rosso’s deposition, his counsel objected more than 400 times,

advanced invalid “scope” objections 150 times, and instructed Del Rosso not to

answer 65 different questions. Defendants gloss over these facts because they

had no grounds to engage in such a blatant effort to thwart discovery. The

Rules do not provide for a deposition objection on the basis of “scope,” as

Defendants’ counsel repeatedly did, or on the basis of privilege when no

privileged information was sought or without providing basic information to

support the privilege claim. See Fed. Civ. P. 26(b)(5)(A)(ii) (requiring a party

asserting privilege to “describe the nature of the documents, communications,

or tangible things not produced or disclosed . . . in a manner that . . . will enable

other parties to assess the claim”). The Court should award further deposition

time to remedy Defendants’ obstruction. Defendants’ stalling needs to end.




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         Defendants’ argument that Plaintiff’s deposition questions were
irrelevant arises from their groundless position that discovery is narrowly
limited to a handful of months in 2018-19 when Defendants facilitated
disclosure of Plaintiff’s hacked data. As argued previously in multiple filings,
the scope of discovery must be much broader based on the allegations in
Plaintiff’s Complaint and the defenses advanced by Defendants.

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                                    ARGUMENT

I.      Defendants Have Engaged in a Pattern of Obstruction to Prevent
        Plaintiff’s Reasonable Discovery.

        Del Rosso’s deposition was part of a much larger effort Defendants have

orchestrated to block all discovery in this case. Plaintiff has already detailed

this pattern of obstruction to the Court in connection with prior discovery

motions, see, e.g., Pl.’s Reply in Supp. of [His] Mot. to Compel [Documents] at

4-8, ECF No. 163. In short:

     • Plaintiff served document requests four months ago targeting specific
       categories of relevant documents, see ECF No. 131-1, but Defendants
       have produced zero documents from their own files.

     • Defendants and their third-party allies have aggressively objected to and
       sought to quash subpoenas Plaintiff has issued for relevant and
       discoverable information and documents, such as financial records, even
       where their standing to do so was at best questionable.

     • Defendants’ unreasonable positions on a variety of issues, like the scope
       of discovery, have forced Plaintiff to engage in extensive motion practice,
       with nine discovery motions now pending before the Court (including six
       from Defendants or their allies);

     • Defendants sought to push out Del Rosso’s deposition for health reasons
       indefinitely; then, once it was finally held, they repeatedly obstructed
       Plaintiff’s fair examination;

     • Defendants have over-designated deposition transcripts and third-party
       productions as confidential — including basic non-confidential
       information such as whether Del Rosso was aware of his Fifth
       Amendment rights, when his work with Dechert ended, who instructed
       him as part of his work for Project Nariman, what work was done by
       CyberRoot, and the provenance of data on devices used by Defendants
       and Jamie Buchanan in relation to the investigation of Plaintiff — which



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      has forced burdensome motions to seal in connection with simple
      motions; and

   • Defendants have served just one subpoena and no other discovery
     requests on Plaintiff well into discovery.2

The parties are more than halfway through fact discovery and Defendants have

refused to participate in the discovery process. Defendants have not produced

a single document from their own files—not even documents Del Rosso

admitted are relevant and in his possession. See ECF No. 163-1 (excerpts of

testimony from Del Rosso’s deposition reflecting control over a vast array of

responsive documents related to the allegations in Plaintiff’s Complaint). At

Del Rosso’s deposition, Defendants prevented Plaintiff from conducting a full

and fair examination of the lead defendant by repeatedly instructing the

witness not to answer questions seeking non-privileged information.

      Defendants’ argument that they may refuse to provide relevant

testimony or produce documents in this case because the information may also

be relevant in other cases is baseless.     The Federal Rules are clear that

“[p]arties may obtain discovery regarding any nonprivileged matter that is

relevant to any party’s claim or defense and proportional to the needs of the

case.” Fed. R. Civ. P. 26(b)(1); Carefirst of Md., Inc. v. Carefirst Pregnancy




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        Despite Defendants’ refusal to participate, Plaintiff continues to take
all possible steps to conduct discovery and meet the July 1, 2023, fact discovery
deadline. See, e.g., ECF No. 93 at 2.

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Ctrs., Inc., 334 F.3d 390, 402 (4th Cir. 2003) (noting discovery under Rule 26,

“[d]iscovery . . . is broad in scope and freely permitted”). Furthermore, the

Protective Order entered by this Court would protect any sensitive confidential

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information from unrestricted disclosure in other litigations.         See, e.g.,

Protective Order ¶ 6, ECF No. 177 (restricting access to confidential

information). Plaintiff is entitled to discovery on his misappropriation and

conspiracy claims and on Defendants’ affirmative defenses in this case.4

      That is why Plaintiff posed many questions at Del Rosso’s deposition

about allegations, responses, and statements directly from Defendants’

Answer. Thompson v. Dep't of Hous. & Urb. Dev., 199 F.R.D. 168, 171-72 (D.

Md. 2001) (“[T]he most valuable reference to use in implementing the new


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       Defendants allege that Plaintiff inappropriately disclosed nondescript
hacking code names in a filing in a different case. Purported “code names”
could not possibly meet the Protective Order’s standard for what constitutes
“Confidential” information. See Protective Order ¶ 2, ECF No. 177
(“Confidential” includes “trade secrets,” “research or development,” “financial
information,” “health information,” etc.). This is just another example of
Defendants’s attempts to weaponize confidentiality to restrict this litigation
and overly burden the Court and Plaintiffs.
      4
        Defendants argue that counsel for Plaintiff “conceded” in the March 7,
2023, hearing before the Court that “Plaintiff is no longer permitted to the
discovery that otherwise would have been permitted.” See ECF No. 193 at 5.
This argument is at best grossly inaccurate. In response to the Court’s
questions about the scope of discovery, counsel for Plaintiff informed the Court
that, while the number of claims at issue in the case were certainly narrowed,
the temporal scope and the facts at issue in the case were not meaningfully
different based on the remaining claims.

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change in the scope of discovery is the pleadings that have been filed . . . .”)

For example, Plaintiff asked questions about Defendants’ work for Dechert

LLP and $1 million in payments they received from Dechert (referenced in

                                                     5
Defendants’ Answer ¶ 28, ECF No. 86), see Ex. 1 at 22:9-25:19, 88:3-91:23;

about CyberRoot and the work it did for Defendants (referenced in Defendants’

Answer ¶ 2), at 86:16-87:17, 121:12-124:24; and about NTi, a company that

Defendants claim were directly involved in the handling of Plaintiff’s stolen

data (referenced in Answer ¶¶ 15, 23, 27), and at 109:3-19; see also Ex. 2, Defs.’

Objections and Responses to Pl. Farhad Azima’s First Set of Interrogatories at

3 (“VMS engaged Northern Technology, Inc. (‘NTi’) in 2016 in connection with

VMS’s engagement by Dechert.”). Even as Plaintiff’s questions tracked the

assertions in Defendants’ Answer, counsel instructed Del Rosso not to answer.6

Ex. 1 at 127:10-130:5. For instance, Defendants admit in their Answer that

they began an “investigation” for Ras Al Khaimah in 2014, which related in

substantial part to Plaintiff Azima. Id.; see also id. at 22:9-25:19. Defendants’



      5 To avoid additional motions to seal, Plaintiff has redacted those
portions of the transcript still designated Confidential by Defendants.

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       Counsel for Defendants also shut down questions about payments made
to witnesses about payments that were made through a law firm, Ex. 1 at 42:2-
23, questions about the code names used to refer to the investigation related
to Plaintiff, id. at 51:8-52:23, and questions about the legal fees incurred to
date when the prayer for relief in Defendants’ Answer states that they are
going to seek legal fees in this matter, see ECF No. 188-2.

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conspiracy to misappropriate Plaintiffs’ trade secrets was part of that

investigation, and questions about that project are therefore directly clearly

relevant to this matter. Yet Defendants’ counsel objected and Del Rosso

broadly declined to answer such questions.

       Defendants’ obstructive tactics are transparent and unacceptable.

Defendants are pushing an exceedingly and artificially narrow view of what is

relevant and discoverable in this action, and they have stonewalled discovery

of any facts outside these self-imposed parameters. For example, Defendants

argue that it was inappropriate to ask Del Rosso about a Ras al Khaimah

(“RAK”) laptop he received and what he did with it. See ECF No. 193 at 15-16

n.9. Yet Del Rosso admits these devices included data related to Plaintiff. See

ECF No. 182-3 at 331:17-334:6. Therefore, questions determining whether the

laptop was in Defendants’ possession clearly seek relevant information. See

Fed. R. Civ. P. 26(b)(1) (“Information within th[e] scope of discovery need not

be admissible in evidence to be discoverable.”).

II.    Defendants’ Obstructed Del Rosso’s Deposition, and Plaintiff
       Should be Granted Additional Time.

       The Court is empowered to craft whatever relief is necessary to remedy

the damage Defendants caused when they impeded and frustrated Plaintiff’s

fair examination of Del Rosso through repeated improper objections. See Fed.

R. Civ. P. 30(d)(1); see also Lawrence v. Tiger Swan, Inc., No. 10-CV-379-BO,



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2012 WL 34221, at *3 (E.D.N.C. Jan. 6, 2012) (“When a deponent fails to

answer a question at a deposition, a party may move for an order compelling

an answer,” and “Plaintiff’s refusals to answer clearly warrant the

continuation of her deposition, as defendant has requested.”). Del Rosso’s

counsel objected more than 400 times during the deposition. Based on the

volume alone, these objections were disruptive and improper and wasted

significant time on the record. Counsel also repeatedly interrupted Plaintiff’s

examination. See, e.g., Fashion Exch. LLC v. Hybrid Promotions, LLC, 333

F.R.D. 302, 305-07 (S.D.N.Y. 2019) (ordering new deposition, in part, on the

basis of repeated objections that disrupted the deposition). But they were also

improper for two other significant reasons.

      First, Del Rosso’s counsel improperly instructed his client not to answer

approximately 65 questions on the basis of privilege, even though many

questions clearly sought non-privileged information. While confidential legal

advice is typically privileged, underlying facts are not. See Upjohn Co. v.

United States, 449 U.S. 383, 395 (1981) (the attorney-client privilege “only

protects disclosure of communications; it does not protect disclosure of the

underlying facts by those who communicated with the attorney”); see also

Chevron Corp. v. Donziger, No. 11-cv-0691, 2013 WL 1896932, at *2 (S.D.N.Y.

May 7, 2013). Despite this black letter law, Del Rosso’s counsel instructed him

not to answer questions about strictly factual information. See ECF No. 189


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at 5-6 (citing examples). Many of these questions carefully came in the form

of “Yes” or “No” questions that simply sought to confirm facts. In one example,

Del Rosso’s counsel instructed him not to answer questions such as “Are you

seeking reimbursement or payment of legal fees relating to Nelson Mullins?”

It did not call for information protected by privilege and was also relevant to

the relief requested in Defendants’ Answer. See ECF No. 86 at 31. Plaintiff

was entitled to develop the record regarding Defendants’ privilege claims, see

Chevron, 2013 WL 1896932, at *2, but he was prevented from doing so.

      Second, Del Rosso’s counsel improperly objected on the basis of “scope”

over 150 times during the deposition. These objections were invalid. See

Gobena v. CourierNet Inc., No. 20-CV-00290, 2021 WL 1917132, at *3

(W.D.N.C. Feb. 24, 2021), report and recommendation adopted, 2022 WL

301536 (W.D.N.C. Feb. 1, 2022) (objections that questions were “outside the

scope of the Court’s limited discovery Order” were “not valid”); see also Ali v.

WorldWide Language Res., LLC, No. 20-CV-00638, 2022 WL 16727110, at *1

(E.D.N.C. Nov. 4, 2022). These unjustified objections prevented Plaintiff from

obtaining substantive answers to his questions and left the transcript replete

with incomprehensible testimony. It also created delay and confusion for both

sides and eroded Plaintiff’s deposition time.




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        Accordingly, Plaintiff should be granted more time to depose Del Rosso,

and the Court should order Del Rosso to answer the questions to which he

refused to respond.

III.    Defendants Cannot Justify the Obstruction of Del Rosso’s
        Deposition.

        Defendants’ attempts to defend their obstructive conduct are unavailing

for at least four reasons.

        First¸ Fourth Circuit precedent contradicts Defendants’ argument that

Del Rosso’s deposition is “a far cry from the typical instances where courts have

afforded [] relief.” ECF No. 193 at 10. Courts have granted relief under Rule

30(d) when a party—like Defendants—refuses to meaningfully participate in

discovery. See Ali, 2022 WL 16727110, at *4 (authorizing fees under Rule 30(d)

“because [the court] finds that the [responding parties’] refusal to meaningfully

participate in discovery was unreasonable.”); see also Fashion Exch., 333

F.R.D. at 305 (awarding Rule 30(d) relief where “counsel repeatedly made

speaking objections, [and] engag[ed] in debates with [opposing] counsel”).

        Second, Defendants’ argument that the need for any more deposition

time is of “Plaintiff’s own making” because Defendants asked for a standing

objection on scope,7 see ECF No. 193 at 2, 11-12, ignores that the purported


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        Defendants dispute their scope objections add up to the additional three
hours of testimony Plaintiff seeks. To be clear, the requested time is to remedy
all the inappropriate objections, including the faulty privilege objections.

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“scope” objections were invalid and should not have been made in the first

place. Gobena, 2021 WL 1917132, at *3. Allowing Defendants to rest on a

frivolous “standing objection” would have obscured just how inappropriately

limited they view the scope of discovery to be; without objections to specific

questions, Plaintiff and the Court cannot assess the basis of the objections.

Defendants next argue “no harm, no foul,” because counsel never instructed

Del Rosso not to answer on the basis of scope. ECF No. 193 at 2. This is

disingenuous at best: Each “scope” objection in the context of the turmoil

counsel created signaled to Del Rosso that his counsel didn’t want Del Rosso to

answer the question. These objections took up significant time on the record.

Furthermore, Defendants filed the motion for a protective order well after Del

Rosso’s deposition had been noticed and Defendants had agreed to it.          If

anything, the filing of his motion for a protective order at the eleventh hour

raises questions about whether Del Rosso was using the motion as yet another

stalling tactic.

      Third, Defendants’ argument that their privilege objections were proper

because “Del Rosso set forth a legitimate basis for assertion of privilege,” see

ECF No. 193 at 3, ignore several crucial undisputed facts.        Some of the

questions posed covered Defendants’ conduct after their work for Dechert

ended, yet Del Rosso still refused to answer. Even if Del Rosso was engaged to

perform work for Dechert and its client, that does not shield Del Rosso from


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testifying about facts and conduct Defendants undertook pursuant to the

engagement. Claims of privilege do not shield facts or general subject matters

– only specific confidential communications. See, e.g., State v. Farook, 381 N.C.

170, 183 (2022) (“The party asserting the privilege has the burden of

establishing each of the essential elements of the privileged communications.”);

In re Kellogg Brown & Root, Inc., 756 F.3d 754, 759 (D.C. Cir. 2014) (holding

that an individual communication is privileged only if the primary purpose is

to obtain or provide legal advice); accord Fed. R. Civ. P. 45(e)(2)(A). As an

example, Del Rosso was asked whether Plaintiff’s data was ever discussed at

Dechert’s offices.   Counsel instructed Del Rosso not to answer because

(according to counsel) “this question seeks the content of privileged

conversations with Dechert.” ECF No. 193 at 16-17. This is nonsensical. This

is a “Yes” or “No” question simply asking whether a conversation even took

place, not the content of that conversation.8 It is clear, however, that Del Rosso

is inappropriately trying to avoid testifying about facts and information that

are devastating to him in this case.



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        Defendants also imply Plaintiff intentionally did not ask follow-up
questions after Defendants’ privilege instructions to avoid testimony that
might confirm Del Rosso was being asked to divulge privileged information.
ECF No. 193 at 4,18 (citing ECF No. 182-3 at 348:10–349:16). Given that
counsel instructed Del Rosso not to answer questions seeking clearly non-
privileged information, there was no potential for Plaintiff’s counsel to follow
up.

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      Fourth, Defendants’ argument that additional testimony would be

prejudicial because Plaintiff was at fault for “hastily mov[ing] forward” with

the deposition while so many discovery motions were pending, see id. at 20, fail

to excuse or explain Defendants’ continued obstruction. Halfway through the

discovery period, which ends in July 2023, Defendants have refused to produce

any of their own documents and thwarted the only deposition they have

permitted to go forward. Plaintiff should not have to wait while Defendants

continue to impede access to information and the discovery clock ticks down.

See Fed. R. Civ. P. 26(d)(3)(A) (“Unless the parties stipulate or the court orders

otherwise . . . methods of discovery may be used in any sequence[.]”) In any

event, Defendants’ contentions ultimately urge the Court to excuse their

misconduct at the deposition. If the deposition was impeded or frustrated, the

Court “must” allow addition time. Fed. R. Civ. P. 30(d)(1).9




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        Defendants also mention Del Rosso’s health as a reason that additional
time would be prejudicial. Id. at 4. Plaintiff has already taken significant
steps to accommodate Del Rosso’s health issues, and Defendants created this
issue by impeding the deposition instead of participating in discovery in good
faith.

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                               CONCLUSION

      For the foregoing reasons, Plaintiff respectfully requests that the Court

grant his motion to compel and order Del Rosso to sit for additional deposition

testimony to remedy Defendants’ obstructive conduct.

      This, the 24th day of March, 2023.

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                    CERTIFICATE OF WORD COUNT
      The undersigned certifies compliance with Local Rule 7.3(d) regarding

length limitations. This memorandum contains fewer than 3,125 words. The

undersigned has relied on the word count feature of Microsoft Word 365 in

making this certification.



                                         /s/ Ripley Rand
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              IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                        CASE NO. 20-CV-954


FARHAD AZIMA,

      Plaintiff,

      v.
                                          CERTIFICATE OF SERVICE
NICHOLAS DEL ROSSO and
VITAL MANAGEMENT
SERVICES, INC.,

      Defendants.



      I hereby certify that I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send electronic notification of this
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 This, the 24th day of March, 2023.

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